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                                     EXHIBIT B

                                   Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:
                                                                Chapter 7
BAYOU STEEL BD HOLDINGS, L.L.C., et al.,1
                                                                Case No. 19-12153 (KBO)

                    Debtors.                                    (Jointly Administered)

                                                                Ref. Docket No. ____


        ORDER GRANTING MOTION OF THE CHAPTER 7 TRUSTEE SEEKING
    THE ENTRY OF AN ORDER APPROVING AND AUTHORIZING A PROTOCOL TO
                    COMPROMISE PREFERENCE CLAIMS
                                                                              2
                    Upon consideration of the motion (the “Motion”) of George L. Miller, chapter 7

trustee (the “Trustee”) to the estates of the above-captioned debtors (collectively, the “Debtors”),

seeking entry of an order (this “Order”) approving a protocol to compromise preference claims,

which protocol is summarized in Exhibit A attached to the Motion, as more fully set forth in the

Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court


1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel Investment, LLC, a
Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability company (5783). The
Debtors’ former location was: 138 Highway 3217, LaPlace, Louisiana 70068.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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having found that notice of and opportunity for a hearing on the Motion were appropriate and no

other notice need be provided; and this Court having reviewed the Motion and having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                 1.          The Motion is GRANTED.

                 2.          The Trustee is authorized to compromise and settle the Preference Claims

and Filed Claims in accordance with the protocol described in the Motion and as summarized on

Exhibit A to the Motion.

                 3.          The Trustee is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

                 4.          This Order is without prejudice to the Trustee’s rights to seek entry of an

order modifying or supplementing the relief granted herein.

                 5.          The claims and noticing agent appointed in these cases is authorized to

adjust the claims register to reflect the allowance of claims in accordance with the protocol

described in the Motion and as summarized on Exhibit A to the Motion.

                 6.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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                 7.          The Court shall retain jurisdiction to hear and determine all matters

arising from the interpretation, implementation, or enforcement of this Order.




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